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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO


Civil Action No. 20-CV-00152-WJM-STV

UNITED STATES OF AMERICA
         Plaintiff,

v.

1. DIPLOMA, PRINCETON UNIVERSITY Ph.D, IN MATHEMATICS, ISSUE
    TO ALAN MATHISON TURING;
2. PHOTOGRAPH OF ALAN TURING IN COAT AND TIE, FACING RIGHT,
    BY ELLIOT & FRY;
3. PHOTOGRAPH OF ALAN TURING IN COAT AND TIE, FACING LEFT, BY
    ELLIOT & FRY;
4. ORER OF THE BRITISH EMPIRE, MINIATURE, AND INSTRUCTION
    SHEET CONTAINED IN BOX GILDED WITH O.B.E.;
5. LETTER FROM KING GEORGE VI PRESENTING O.B.E. TO ALAN M.
    TURING, ESQ.;
6. ALAN TURING’S HAZELHURST PREPARATORY SCHOOL REPORT,
    DECEMBER 1924;
7. ALAN TURING’S SHERBORNE SCHOOL REPORT, FIRST-HALF SUMMER
    TERM 1926;
8. ALAN TURING’S SHERBORNE SCHOOL REPORT, SECOND-HALF
    SUMMER TERM 1926;
9. ALAN TURING’S SHERBORNE SCHOOL REPORT, FIRST-HALF
    MICHAELMAS TERM 1927;
10. ALAN TURING’S SHERBORNE SCHOOL REPORT, LENT TERM 1931;
11. ALAN TURING’S SHERBORNE SCHOOL REPORT, SUMMER TERM
    1931;
12. PHOTOSTAT COPY OF PRECIS OF THE THEORY OF RELATIVITY BY
    ALBERT EINSTEIN PREPARED BY ALAN TURING FOR HIS MOTHER AT
    AGE FIFTEEN AND A HALF;
13. TAN POSTCARD WITH CAPTION READING “THE UNIVERSAL
    ELECTRONIC COMPUTER INSTALLED AT MANCHESTER UNIVERSITY
    BY FERRANTI LIMITED, WHO ARE MANUFACTURING UNDER
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    LICENSE FROM THE CORPORATION” WITH HANDWRITING “ALAN
    STANDING”;
14. PHOTOGRAPH OF ALAN TURING, FACING RIGHT, VERSO READS
    “ALAN M. TURING 1936”;
15. PHOTOGRAPH OF ALAN TURING, THREE-QUARTER PORTRAIT IN
    COAT AND TIE, FACING RIGHT;
    AND
16. PHOTOCOPY OF POSTCAR FROM ALAN TURING TO HIS MOTHER
    WITH BLUE INK NOTES.
Defendants.


                                VERIFIED CLAIM

      Ms. JULIA M. TURING, pursuant to Rule G(5) of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions here by

(1) identifies the property as that listed above in the case caption above; and

(2) identifies herself, Ms. Julia M. Turing, as the claimant and states that her

interest in the property is that she is the lawful owner.



Dated:      April 20, 2020.

Signed under penalty of perjury,

s/ Julia M. Turing
Julia M. Turing
